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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )               8:03CR17
                                       )
           v.                          )
                                       )
CECILIO RODRIGUEZ-MARTINEZ,            )                ORDER
                                       )
                  Defendant.           )
                                       )


     Upon review of the court file,

     IT IS ORDERED:

     1.    Defendant's "MOTION TO WITHDRAW DOCUMENT 50" (#53) is granted.

     2.    Defendant's Motion to Consolidate (#50) is deemed withdrawn.

     DATED July 25, 2005.

                                      BY THE COURT:

                                      s/ F.A. Gossett
                                      United States Magistrate Judge
